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                                          U NITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA

          U NITED STATES OF AMERICA,                           ~ Southern Division
                                                    Plaintiff, ~
                             vs.                              I Case #: 8:18-MJ-00257               Local Complaint
                                                              ~ Initial App. Date: 05/17/2018           Custody
          Stephen William Beal                                I Time: 02:00 PM




                                                 Defendant. 'I Date Filed: 05/17/2018
                                                               Violation: 26 USC 6 5861fd)
                                                               CourtSmart/Reporter: Miriam Baird


   PROCEEDINGS HELD BEFORE UNITED STATES                               CALENDAR/PROCEEDINGS SHEET
       MAGISTRATE JUDGE: Karen E. Scott                                 LOCAL/OUT-OF-DISTRICT CASE




   PRESENT:           Jazmin Dorado              Mark Takla &Patrick Fitzgerald                      /None
                ----------------------------      ------------------------------     ----------------------------------------
                       Deputy Clerk                 Assistant U.S. Attorney                  Interpreter/Language




    ~~ Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to
    bail; bail review and -^preliminary hearing

    L~ Defendant states true name is as charged.



    ~5 Attorney: Amy Karlin [~1 DFPD, N:i Appointed

    ~~1 Government's request for detention is: CONTINUED.

    ~ Defendant is ordered: Temporarily Detained (see separate order).

    ~? Case continued to (Date) Monday, May 21, 2018, at 2:OOpm

    r~? Type of Hearing: Detention Hearing Before Judge Scott /Duty Magistrate Judge.

    ~ Proceedings will be held in the Courtroom 6A

    ~~ Defendant committed to the custody of the U.S. Marshal

   [~7 Abstract of Order to Return Defendant to Court on Next Court Day--M-20 issued. Original forwarded
   to USM.

   !~~ PSA, C~ FINANCIAL, [~ READY


                                                                                            Deputy Clerk Initials: JD
                                                                                                                 00:~




 M-5 (10/13)                       CALENDAR/PROCEEDING SHEET - LOCAUOUT-OF-DLSTRICT CASE                       Page 1 of 1
